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                                     ERRATA
Risen Energy Co., Ltd. v. United States, Consol. Court No. 19-00153, Confidential
Slip Op. 20-152, dated Oct. 30, 2020:
      Page 2, appearances, line 15, following the appearances of Plaintiff-
      Intervenors and preceding those of Defendant: insert new line, enter the
      following, then insert another new line
      “Neil R. Ellis, Richard L.A. Weiner, Justin R. Becker, Rajib Pal, and Shawn M.
      Higgins, Sidley Austin, LLP, of Washington, DC, for plaintiff-intervenors
      Yingli Green Energy Holding Co., Ltd., Baoding Tianwei Yingli New Energy
      Resources Co., Ltd., Tianjin Yingli New Energy Resources Co., Ltd., Hengshui
      Yingli New Energy Resources Co., Ltd., Lixian Yingli New Energy Resources
      Co., Ltd., Baoding Jiasheng Photovoltaic Technology Co., Ltd., Beijing
      Tianneng Yingli New Energy Resources Co., Ltd., Hainan Yingli New Energy
      Resources Co., Ltd., Shenzhen Yingli New Energy Resources Co., Ltd., Yingli
      Green Energy International Trading Co., Ltd., and Yingli Energy (China) Co.,
      Ltd.”




November 9, 2020
